        Case 1:21-cr-00121-JJM-LDA               Document 12-2        Filed 12/01/21          Page 1 of 1 PageID #:
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AO 455 (Rev. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                            for the
                                                   DistrictDistrict
                                              __________    of Rhode    Island
                                                                    of __________

                  United States of America                    )
                             v.                               )      Case No.       1:21CR121JJM-LDA
                                                              )
                     John D. Macintyre                        )
                             Defendant                        )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:
                                                                                         Defendant’s signature




                                                                                    Signature of defendant’s attorney

                                                                                    Rebecca L. Aitchinson, Esq.
                                                                                Printed name of defendant’s attorney




                                                                                           Judge’s signature



                                                                                     Judge’s printed name and title
